Case 4:20-cv-03919-CW   Document 795-2   Filed 04/14/25   Page 1 of 4




                 Exhibit 2
     Case 4:20-cv-03919-CW         Document 795-2      Filed 04/14/25    Page 2 of 4




 1 GARRETT R. BROSHUIS (Bar No. 329924)              ERIC OLSON (admitted pro hac vice)
     gbroshuis@koreintillery.com                      eolson@olsongrimsley.com
 2 STEVEN M. BEREZNEY (Bar No. 329923)               SEAN GRIMSLEY (Bar No. 216741)
    sberezney@koreintillery.com                       sgrimsley@olsongrimsley.com
 3 ANDREW M. ELLIS (admitted pro hac vice)           JASON MURRAY (admitted pro hac vice)
     aellis@koreintillery.com                         jmurray@olsongrimsley.com
 4 KOREIN TILLERY, LLC                               SAMARA HOOSE (Bar No. 337713)
   505 North 7th Street, Suite 3600                   shoose@olsongrimsley.com
 5 St. Louis, MO 63101                               OLSON GRIMSLEY KAWANABE
   Telephone: (314) 241-4844                         HINCHCLIFF & MURRAY LLC
 6 Facsimile: (314) 241-3525                         700 17th Street, Suite 1600
                                                     Denver, CO 80202
 7 GEORGE A. ZELCS (admitted pro hac vice)           Telephone: (303) 535-9151
     gzelcs@koreintillery.com
 8 MARC WALLENSTEIN (admitted pro hac vice)
     mwallenstein@koreintillery.com
 9 PAMELA I. YAACOUB
     pyaacoub@koreintillery.com (admitted pro hac
10 vice)
   KOREIN TILLERY, LLC
11 205 N. Michigan Ave., Suite 1950
   Chicago, IL 60601
12 Telephone: (312) 641-9750

13

14
                        UNITED STATES DISTRICT COURT
15          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16                                                  CASE NO. 4:20-cv-3919-CW
17 IN RE COLLEGE ATHLETE NIL
   LITIGATION                                       DECLARATION OF BENJAMIN BURR-KIRVEN
18
                                                    IN SUPPORT OF MOTION FOR
19                                                  ADMINISTRATIVE RELIEF TO BE ADDED TO
                                                    THE OPT-OUT LIST
20

21

22

23

24

25

26

27

28
                                                             NO. 4:20-cv-3919-CW
                              DECLARATION OF BENJAMIN BURR-KIRVEN
     Case 4:20-cv-03919-CW           Document 795-2           Filed 04/14/25       Page 3 of 4




 1          I, Benjamin Burr-Kirven, hereby declare as follows:

 2          1.      I am a former football player at the University of Washington. I submit this

 3 declaration in support of my request to be added to the opt-out list for the proposed settlement in this

 4 case.

 5          2.      I am personally familiar with the facts set forth in this Declaration. If called as a

 6 witness, I could and would competently testify to the matters stated herein.

 7          3.      I played football at Washington during the 2015 through 2018 seasons. In 2018, I was

 8 named the Pat Tillman Pac-12 Defensive Player of the Year and the Pac-12’s Scholar of the Year,

 9 while also being named to All-American lists. I recently appeared at the Court’s final fairness hearing

10 in this matter to provide the Court with more details about my situation and to answer the Court’s

11 questions.

12          4.      When I first learned of my estimated payout for the proposed settlement, I was sure

13 that a mistake had been made. Articles that I read had stated that calculations would be done based on

14 performance and contribution, and that the average payout for a Power 5 Conference football player

15 would be around $135,000. As a highly decorated, multi-year starter for a major football program in a

16 Power 5 Conference, I expected to receive more than average. But my estimated payout was only

17 $57,094.05, which seemed to be a mistake.

18          5.      I contacted teammates and learned that several had very different numbers that

19 seemed to make no sense. Some former teammates received estimates of two-to-five times my

20 estimate, and they did not have the accolades that I had and did not make the contribution to the

21 program that I made. That again led me to believe that my estimate was just a mistake.

22          6.      I reached out to class counsel to try to rectify the mistake. I was just told that the

23 estimates were being calculated by an expert, and nothing further about how my individual calculation

24 was provided. I was also told that the information that they had for my teammates differed from what

25 they had for me, so I thought that there was still a chance that I could get my estimate changed if I

26 continued to work through the process.

27          7.      The deadline for objecting then arrived, and I firmly believed that since this had to be

28 a mistake, that I could object and correct the mistake. I did so by the deadline, and then the Court

                                                 1             NO. 4:20-cv-3919-CW
                                DECLARATION OF BENJAMIN BURR-KIRVEN
     Case 4:20-cv-03919-CW           Document 795-2          Filed 04/14/25      Page 4 of 4




 1 asked me to appear at the final fairness hearing on April 7. That again encouraged me that this was all

 2 a mistake that could be corrected.

 3          8.      I appeared at the hearing on April 7, and the Court noted that I could work with the

 4 parties and the administrator to correct any calculation errors. It was only during the hearing that it

 5 became apparent that the parties to the settlement would not be correcting my too-low settlement

 6 estimate because there is a structural issue with how the calculations are being performed for athletes

 7 during my years played that, despite assurances to the contrary, does not take into account my

 8 contribution to the team and the accolades that I had.

 9          9.      I believe that I did not receive complete or sufficient information about how my

10 estimate was being calculated, and that misled me in the lead-up to the January 31 deadline. I made

11 every effort to work within the legal system to get fairness for myself (and others), but my estimate

12 was never corrected to take into account my accolades and contributions to the team.

13          10.     Under these circumstances, I ask that the Court extend to me the courtesy of being

14 added to the opt-out list for the case.

15

16          I declare under penalty of perjury that the foregoing is true and correct.

17 Executed on April 14, 2025,

18

19
                                                    Benjamin Burr-Kirven
20

21

22

23

24

25

26

27

28

                                                 2             NO. 4:20-cv-3919-CW
                                DECLARATION OF BENJAMIN BURR-KIRVEN
